Case 1-19-42239-nh|

Fil| in this information to identify the case:

United Staies Bankruplcy Court for the:

Dlstrlct of NEW YORK
(Slale)

EASTERN

l
| Case number (r/known):

Official Form 201

Voluntary Petition for Non-lndividuals Filing for Bankruptcy

Chapter l l

DOC 1 Filed 04/12/19 Entel’ed 04/12/19 14226:00

Cl Check ifthls is an
amended filing

04/19

if more space ls needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (lf known). For more lnformat|on, a separate document, instructions for Bankruptcy Forms far Nan-Indlvlduals, ls availab|e.

1. Debtor's name

2. All other names debtor used
in the last 8 years

include any assumed namesl
trade names, and doing business
as names

3. Debtor’s federal Employer
identification Number (ElN)

4. Debtor’s address

5. Debtor's website (URL)

e. Type of debtor

Oft”lc|al Form 201

GREENSTONE PARTNERS HOLDINGS LLC

 

 

 

 

 

Princlpa| place of business

5222 NEW UTRECHT AVENUE

Mai|ing address, if different from principal place
of business

 

Number Street

 

Number Street

 

 

 

 

 

SUITE 120
P,O. Box
BROOKLYN NY l 1219
City State ZlP Code Ciry Staie ZlP Code
Locatlon of principal assets, ll different from
KINGS principal place of business
County

 

Number Slreet

 

 

City Slaie ZlP Code

 

m Corporatlon (inciuding leiled Llabil|ty Company (LLC) and leited L|abllity Parlnership (LLP))

Cl Partnership (excluding L\_P)
n Other. Spec|fy'.

 

Voluntary Pet|tion for Non-|ndividua|s Flling for Bankruptcy

page 1

CaSe 1-19-42239-nh| DOC 1 Filed 04/12/19 Entei’ed 04/12/19 14226200

Debtor

Cese number (i/»..i.n...i

 

Nnme

7. Describe debtor's business

a. Under which chapter of the
Bankruptcy Code is the
debtor filing?

s. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

if more than 2 cases. attach a
separate ilst.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

Lisi all cases. lf more than 1.
attach a separate iist.

Official Form 201

A. Check one:

n Hea|th Care Business (as defined in 11 U.S.C. § 101(27A))
n Slngle Asset Real Estaie (as defined in 11 U.S.C. § 101(51B))
|:l Railroad (as defined in 11 U.S.C. § 101(44))

Cl Stockbroker (as defined in 11 U.S.C. § 101(53A))

Cl Commodity Broker (as defined in 11 U.S.C. § 101(6))

El clearing Bank (as dennea in 11 u.s.c. § 781(3))

[).i None of the above

B. Check all that app/y.'

n Tax-exempt entity (as described in 26 U.S.C. § 501)

El investment company. including hedge fund or pooled investment vehicle (as denned in 15 U.S.C.
§ 80a-3)

n investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NA|CS (North American industry C|assificatlon System) 4-digit code that best describes debtor. See

 

h!]g'[r\M-ii.ii§ggii!j§ gg\.rilgjir-gigig-ita|ignal-§§§g§ig|igi't-n§ig§-ggi;§§ _
Check one.'
n Chapter 7
i:l Chapter 9

ij Chapter 11. Check all that app/y:

i:l Debtor's aggregate nonconiingent liquidated debts (exc|uding debts owed to

insiders or afli|iates) are less than $2,725.625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

|;] The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). if the
debtor is a small business debtor, attach the most recent balance sheet. statement
of operations, cash-flow statement and federal income tax return or if ali of these
documents do not exist, follow the procedure in 11 U.S,C. § 1116(1)(B).

Ci A plan is being tried with this petition

n Acceptances of the plan were solicited prepetition from one or more classes of
creditors. in accordance with 11 U.S.C. § 1126(b).

m The debtor is required to tile periodic reports (for examp|e, 10K and 100) with the
Securlties and Exchange Commission according to § 13 or 15(d) of the Securitles
Exchange Act of 1934. Flie the Attachmeni to Vo/untary Peti'iion for Non-/ndivi'dua/s Filing
for Bankruptcy under Chapter 11 (Offlciai Form 201A) with this form.

Ci The debtor is a shell company as defined in the Securities Exchange Aci of 1934 Ruie

 

l 12b-2.
cl Chapter 12
EFNO
n Yes. District When ___ Case number
MM/ DD /YYVY
District When _ Cese number
MM/ DD/YYYV
w No
uYeS. Debtor Reiat`ionship
District When

 

MM l DD I¥YYY
Case number. if known

Vo|untary Petitlon for Non-|ndlvlduals Filing for Bankruptcy page 2

CaSe 1-19-42239-nh| DOC 1 Filed 04/12/19 Entei’ed 04/12/19 14226200

Debtor Case number rir»io.ini
Name

 

11. Why is the case filed in this Check a// that app/y.'

district?
q Debtor has had its domicile, principal place of business. or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
districtl

n A bankruptcy case concerning debtor's afh|late, general partner, or partnership is pending in this districi.

12. Does the debtor own or have No
possession of any real
property or personal property

that needs immediate Why does the property need immediate attention? (Cneck all ihai apply.)
attention?

i;l Yes. Answer below for each property that needs immediate attention Attach additional sheets if needed.

n lt poses or is alleged to pose a threat of imminent and identinable hazard to public health or sateiy,
What ls the hazard?

 

n it needs to be physically secured or protected from the weather.

cl it includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for exampie, i`lvestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

lIl Other

 

Where is the property?

 

Number Street

 

 

City Staie ZlP Code

is the property insured?
n No

m Yes. insurance agency

 

Contact name

 

Phone

- Statlstical and administrative information

13. Debtor's estimation of Check ona-

ava"ab|° funds m Funds will be available for distribution to unsecured creditors

l;l Afier any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

iii 1-49 Cl 1.000-5.000 El 25,001-50.000

‘4' Estg:;at°d number °f Cl 50-99 Ei 5.001-10.000 C| 50,001-100,000

°'° °'° El 100-199 Cl 10.001-25,000 Cl i/lorethan 100,000

Cl 200-999
El $0-$50,000 21 $1,000.001-$10 million El $500,000,001-$1 billion

‘5~ Estimat°d assets El $50,001-$100,000 El $10,000,001-$50 miiiion lIl $1,000,000,001-$10 billion
El $100.001-$500,000 Ei $50,000.001-$100 million El $10.000.000.001-$50 billion
Cl $500.001-$1 million Ci $100,000,001-$500 million Cl Moro than 550 billion

Off'lcial Form 201 Voluntary Petltion for Non-lnd|vidua|s Filing for Bankruptcy page 3

CaSe 1-19-42239-nh| DOC 1 Filed 04/12/19 Entei’ed 04/12/19 14226200

Debtor Case number i./.i...iwi

 

NI!H&

Cl 5500,000.001-$1 billion

Cl $1,000,000,001-$10 billion
Cl $10.000,000,001-$50 billion
L'.l More than $50 billion

Cl $1,000,001-$10 million
EF $10.000.001-$50 million
El $50.000,001-$100 million
Cl $100.000,001~$500 million

Cl $0-$50,000

El $50,001-$100,000
l;| $100.001-$500,000
Cl $500,001-$1 million

- Request: for Rellef, Dectaration, and Slgnatures

WARN|NG -- Bankruptcy fraud is a serious crime. Makirig a false statement ln connection with a bankruptcy case can result ln fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

is. Est|mated liabilities

11. Dec|aratlon and signature of ,
authorized representative of
debtor

The debtor requests relief in accordance with the chapter of title 11l United States Code. specified in this
petition.

n t have been authorized to file this petition on behalf of the debtor.

n l have examined the information in this petition and have a reasonable belief that the information is true and
correct

l declare under penalty of perjury that the foregoing is true and correcl.

Executedon 04 12 2019
MM YYYY

w

esentallva of debtor

  
     

Jacob Horowitz

 

 

 

re of authorized ri Prlnted name

Manager

tail/im

Signature of aili:imey for debtor

 

X

1a. Signature of attorney

04 12 2019

MM lDD /YYYY

Date

lsaac Nutovic

Pr|nted name
Nutovic & Associates

Firm name

261 Madison Avenue, 26th Floor
Number Street

New York
City

 

 

10016
Z|P Code

NY
Stete

 

212-421-9100

inutovic@nutovic.com

 

Contect phone

1667526

 

Emall address

NY

 

Bar number

Oft'lcia| Form 201

State

Voluntary Petition for Non-lndividuals Filing for Bankruptcy

page 4

